 Fill in this information to identify your case:

 Debtor 1                   JAMES WHITFIELD LIVINGSTON
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  MIDDLE DISTRICT OF TENNESSEE

 Case number           3:20-bk-03559
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $             104,900.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $             190,057.49

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $             294,957.49

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $             120,080.81

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $                 6,468.18

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $          3,558,248.08


                                                                                                                                     Your total liabilities $               3,684,797.07


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                $                 5,672.94

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 5,584.80

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
              Case 3:20-bk-03559                        Doc 124            Filed 04/26/21 Entered 04/26/21 11:58:50                                                     Desc Main
                                                                          Document     Page 1 of 40
 Debtor 1      JAMES WHITFIELD LIVINGSTON                                                 Case number (if known) 3:20-bk-03559

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $           6,987.20


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              6,468.18

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 6,468.18




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
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                                                                     Document     Page 2 of 40
 Fill in this information to identify your case and this filing:

 Debtor 1                    JAMES WHITFIELD LIVINGSTON
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      MIDDLE DISTRICT OF TENNESSEE

 Case number            3:20-bk-03559                                                                                                                        Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        3904 Hwy 31 E                                                                 Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Bethpage                          TN        37022-0000                        Land
                                                                                                                                  entire property?           portion you own?
        City                              State              ZIP Code                 Investment property                               $104,900.00                $104,900.00
                                                                                      Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.

                                                                                      Debtor 1 only                              Fee Simple
        Sumner                                                                        Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                      At least one of the debtors and another
                                                                                                                                      (see instructions)

                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:

                                                                                THE VALUE DOES NOT INCLUDE CLOSING COSTS, AND REAL ESTATE
                                                                                OR AUCTIONEER COMMISSION AND FEES.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $104,900.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
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 Debtor 1        JAMES WHITFIELD LIVINGSTON                                                                     Case number (if known)    3:20-bk-03559
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1    Make:       Ford                                                                                              Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      F250                                       Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       2002                                       Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                                   Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                            $4,500.00                   $4,500.00
                                                                     (see instructions)



  3.2    Make:       Ford                                                                                              Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      F250                                       Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       2004                                       Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                                   Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                            $3,500.00                   $3,500.00
                                                                     (see instructions)



  3.3    Make:       Chevy                                                                                             Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      1500                                       Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       1995                                       Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                                   Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                            $1,500.00                   $1,500.00
                                                                     (see instructions)



  3.4    Make:       Triumph                                                                                           Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      TR6                                        Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       1972                                       Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                                   Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                            $2,500.00                   $2,500.00
                                                                     (see instructions)



  3.5    Make:       Isuzu                                                                                             Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      NPR                                        Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
         Year:       2006                                       Debtor 2 only                                         Current value of the      Current value of the
         Approximate mileage:                                   Debtor 1 and Debtor 2 only                            entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                            $8,000.00                   $8,000.00
                                                                     (see instructions)




Official Form 106A/B                                                       Schedule A/B: Property                                                                 page 2
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 Debtor 1        JAMES WHITFIELD LIVINGSTON                                                                         Case number (if known)       3:20-bk-03559

  3.6    Make:       Toyota                                                                                                   Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Tundra                                     Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2016                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                                   Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another

                                                                Check if this is community property                                  $23,000.00                 $23,000.00
                                                                     (see instructions)



  3.7    Make:       ISUZU                                                                                                    Do not deduct secured claims or exemptions. Put
                                                               Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      NPR BOX TRUCK                              Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       2004                                       Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                                   Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
        STEARNS BANK FILED AN
        UNSECURED CLAIM BUT THE                                 Check if this is community property                                    $8,000.00                  $8,000.00
                                                                     (see instructions)
        DEBTOR BELIEVES IT COULD
        BE SECURED, AND IS DOING
        FURTHER RESEARCH ON
        WHETHER HE OWNS IT
        INDIVIDUALLY OR WHETHER IT
        IS OWNED BY LIVINGSCAPES,
        LLC


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $51,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Couch, 2 Chairs, Ottoman, Marble-top table, Side Table, Patio
                                    Furniture, 2 Bedrooms                                                                                                           $1,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    1TV                                                                                                                                 $50.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 3
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 Debtor 1          JAMES WHITFIELD LIVINGSTON                                                                               Case number (if known)   3:20-bk-03559
8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.       Describe.....

                                            Remington 1187; Rock River AR15                                                                                            $500.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.       Describe.....

                                            Clothing                                                                                                                 $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
     No
     Yes. Describe.....
13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                           $3,050.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
     Yes................................................................................................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:




Official Form 106A/B                                                                      Schedule A/B: Property                                                          page 4
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 Debtor 1       JAMES WHITFIELD LIVINGSTON                                                       Case number (if known)   3:20-bk-03559


                                      17.1.    Checking                    Fourth Capital Bank                                            $1,000.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
    Yes..................        Institution or issuer name:


                                              THERE WAS APPROXIMATELY $77,000 IN THE WE BULL AND
                                              ROBINHOOD ACCOUNT AT THE TIME OF SETTLING OUT THE
                                              ACCOUNTS AFTER CONVERSION TO CHAPTER 7.                                                  $77,000.00


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                              % of ownership:

                                         LG Ornamentals, LLC - LG Ornamentals, LLC -
                                         BASED ON LG ORNAMENTALS FEBRUARY 2021
                                         OPERATING REPORT THERE WAS A NET
                                         BALANCE OF $7,466, SUBJECT TO CHANGE AS
                                         THE BUSINESS CONTINUES TO OPERATE, AND
                                         THERE IS APPROXIMATELY $939 OWED TO THE
                                         TENNESSEE DEPARTMENT OF REVENUE.
                                         CASSIE BURTON AND MILESSA THOMAS HAVE
                                         FILED CONTINGENT, UNLIQUIDATED, AND
                                         DISPUTED CLAIMS IN THE COMBINED TOTAL
                                         AMOUNT OF $3,500,000 IN THE LG
                                         ORNAMENTALS BANKRUPTCY PROCEEDING.
                                         ACCORDINGLY, IN LG ORNAMENTALS
                                         BANKRUPTCY CASE, THERE IS ESTIMATED TO
                                         BE APPROXIMATELY $7500 FOR UNSECURED
                                         CREDITORS AS OF FEBRUARY 2021. DUE TO
                                         THE UNKNOWN NATURE OF THE MILESSA
                                         THOMAS AND CASSIE BURTON CLAIMS, AND
                                         WHETHER LG ORNAMENTALS HAS ANY
                                         LIABILITY, THE DEBTOR IS ESTIMATING THE
                                         VALUE OF HIS PERSONAL INTEREST IN LG
                                         ORNAMENTALS AS UNKNOWN IN A
                                         HYPOTHETICAL SALE.                                            100          %                     Unknown




Official Form 106A/B                                                   Schedule A/B: Property                                                 page 5
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 Debtor 1        JAMES WHITFIELD LIVINGSTON                                                                  Case number (if known)   3:20-bk-03559


                                          Livingscapes, LLC - THE DEBTOR DOES NOT
                                          ANTICIPATE ANY EXCESS MONEY THAT
                                          WOULD COME TO HIM IN A SALE OR
                                          LIQUIDATION OF LIVINGSCAPES. DEBTOR IS
                                          IN A SERVICE BUSINESS BASED ON HIS
                                          EXPERTISE IN LANDSCAPING. IF THE
                                          BUSINESS IS SOLD/LIQUIDATED HE ASSUMES
                                          THAT HE WOULD NOT BE CONTINUING TO
                                          WORK FOR LIVINGSCAPES, AND ANY FUTURE
                                          INCOME WOULD NOT BE CALCULATED IN THE
                                          VALUE. THE US SMALL BUSINESS
                                          ADMINISTRATION FILED A SECURED CLAIM IN
                                          THE LIVINGSCAPES, LLC CASE FOR
                                          $125,804.56, SYNOVUS BANK FILED AN
                                          APPROX $11,000 SECURED CLAIM, STEARNS
                                          BANK FILED AN APPROX. $7100 SECURED
                                          CLAIM AND JOHN DEERE FILED AN APPROX.
                                          $8500 SECURED . THERE WAS APPROX
                                          $73,592 CASH ON HAND IN THE DIP ACCOUNT
                                          PLUS APPROX $21,000 IN RECEIVABLES
                                          ACCORDING TO THE FEBRUARY 2021
                                          OPERATING REPORT BUT THIS DOES NOT
                                          INCLUDE PAYMENTS TO SECURED CREDITORS
                                          OF LIVINGSCAPES WHILE IN CHAPTER 11,
                                          WHICH IS INFLATING THE NET PROFIT. CASSIE
                                          BURTON AND MILESSA THOMAS HAVE FILED
                                          UNSECURED CLAMS IN THE LIVINGSCAPES
                                          CASE AND THESE ARE CONTINGENT,
                                          UNLIQUIDATED AND DISPUTED. THERE ARE
                                          APPROXIM $20,918 IN OTHER U/S CLAIMS. THE
                                          DEBTOR DOES NOT BELIEVE THE ASSETS
                                          WOULD EXCEED THE LIABILITIES FOR
                                          LIVINGSCAPES, BUT IS ESTIMATING THE
                                          VALUE AS UNKNOWN UNTIL FURTHER
                                          RESEARCH CAN BE DONE.                                                    100        %                       Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                          Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
     Yes. List each account separately.
                                       Type of account:                    Institution name:

                                       Roth IRA                            Etrade                                                                     $5,100.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                           Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.

Official Form 106A/B                                                   Schedule A/B: Property                                                             page 6
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    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............          Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...
 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                          Beneficiary:                             Surrender or refund
                                                                                                                                         value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.     Describe each claim.........

                                                      POTENTIAL PERSONAL INJURY CLAIM DUE TO A CAR
                                                      ACCIDENT (DOES NOT BELIEVE A CLAIM HAS ANY VALUE
                                                      DUE TO THE OTHER PARTY NOT HAVING INSURANCE THAT
                                                      WOULD PAY, AND THE DEBTOR DOESN'T BELIEVE THAT
                                                      THE OTHER PARTY HAS ANY MONEY).                                                                Unknown


Official Form 106A/B                                                   Schedule A/B: Property                                                             page 7
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 Debtor 1        JAMES WHITFIELD LIVINGSTON                                                                                      Case number (if known)        3:20-bk-03559

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................             $83,100.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.


                                                                                                                                                                  Current value of the
                                                                                                                                                                  portion you own?
                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                  claims or exemptions.

38. Accounts receivable or commissions you already earned
     No
     Yes. Describe.....

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
     No
     Yes. Describe.....

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
    No
     Yes.      Describe.....


                                        DEBTOR HAS BEEN LISTED AS A CO-BORROWER TO THE
                                        CONTRACT FOR THE 2015 JOHN DEERE SKID LOADER BUT THE
                                        CLAIM HAS BEEN FILED AS A GENERAL UNSECURED CLAIM
                                        AND IS REFLECTED ON SCHEDULE F OF THE DEBTOR'S
                                        CONVERSION STATEMENTS AND SCHEDULES. DEBTOR IS
                                        PROVIDING NOTICE HERE TO DISCLOSE THAT HE IS LISTED AS
                                        A CO-BORROWER ON THE 2015 JOHN DEERE SKID LOADER
                                        WITH AN ESTIMATED VALUE OF $5,000.                                                                                                           $0.00


                                        Bobcat T650 Compact Track Loader                                                                                                     $45,000.00


41. Inventory
    No
     Yes.      Describe.....




Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 8
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 Debtor 1        JAMES WHITFIELD LIVINGSTON                                                                                      Case number (if known)        3:20-bk-03559


                                        Watertown, TN - Approximately 12-15 trees planted on this
                                        property, as well as 150-200 boxwood on this
                                        property. I abandoned this material due to my inability to
                                        successfully dig trees. The trees have grown to
                                        a size that require machinery that I do not posses and can not rent.
                                        The cost to hire a company to
                                        perform this task outweighs the market value of material.
                                        Boxwoods were left due to the purchase of
                                        new property and neglect of plants thus deteriorating their value. It
                                        would be cost prohibitive to move
                                        plants to new location. Cost of labor to remove plant and replant at
                                        new location would outweigh what
                                        the plant could be purchased for on open market. The grade of the
                                        existing boxwoods was factored in to
                                        this decision.                                                                                                                              $0.00


                                        Bethpage Real Property Part of the Real Property or Inventory:
                                        54 – 1.25” – 1.5” Caliper Ginkgo Biloba
                                        33 – 1.25”- 1.5’ Caliper Sugar Maple
                                        7 – 1.25” Caliper Paper Bark Maple
                                        40 – 1.25” Caliper Hornbeam
                                        150 American Boxwood – 16” – 18”
                                        75 – Green Mountain Boxwood 6”
                                        All trees are not currently at a marketable size that my target
                                        clientele wishes to purchase. Tress could
                                        in theory be harvested at this time. Harvesting trees at this time
                                        would result in a loss on product due to
                                        initial delivery and material cost, labor on planting and
                                        maintenance cost, labor on removal cost,
                                        machinery expense, material required to harvest trees. An
                                        assessment of damaged tress by the antler’s
                                        male deer this past winter. A fair number of trees were damaged
                                        rendering them unmarketable.
                                        90% of American Boxwoods have Volutella Blight from late freezes
                                        last spring and summer. These plants
                                        will ultimately have to be discarded.                                                                                                  Unknown


42. Interests in partnerships or joint ventures
     No
     Yes. Give specific information about them...................
                                             Name of entity:                                                                       % of ownership:


43. Customer lists, mailing lists, or other compilations
    No.
    Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

               No
               Yes. Describe.....

44. Any business-related property you did not already list
     No
     Yes. Give specific information.........


 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................            $45,000.00



Official Form 106A/B                                                           Schedule A/B: Property                                                                              page 9
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          Case 3:20-bk-03559                            Doc 124 Filed 04/26/21 Entered 04/26/21 11:58:50                                                           Desc Main
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 Debtor 1         JAMES WHITFIELD LIVINGSTON                                                                                            Case number (if known)   3:20-bk-03559

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.      Go to line 47.



 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........
                                               $10,000 RETAINER PAID TO ATTORNEY COLIN CALHOUN BY
                                               LIVINGSCAPES PRIOR TO FILINGTO REPRESENT LIVINGSCAPES, LG
                                               ORNAMENTALS, & JAMES LIVINGSTON AS A JOINT DEFENSE. IF
                                               RETAINER IS NOT USED, IT IS DEBTOR'S UNDERSTANDING THAT IT
                                               WILL BE RETURNED TO LIVINGSCAPES. THE DEBTOR HAS VALUED
                                               HIS PERSONAL INTEREST IN THE RETAINER AT $0.                                                                                           $0.00


                                               15 TREES & A 2018 MODEL TRAILER, RGN 10K 102X20+5 WR - IT WAS
                                               DESTROYED IN A CAR ACCIDENT. THE TRAILER HAD $2794.35
                                               OWED AGAINST IT BASED ON THE PROOF OF CLAIM, AND THE
                                               DEBTOR RECEIVED $10,701.84 IN INSURANCE PROCEEDS FOR THE
                                               TRAILER AND MATERIALS ON IT. THE ESTIMATED NET VALUE IS
                                               $7,907.49 AFTER AN ESTIMATED PAYMENT ON THE LIEN TO FIRST
                                               HERITAGE IN THE AMOUNT OF $2794.35.                                                                                               $7,907.49



 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                  $7,907.49

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $104,900.00
 56. Part 2: Total vehicles, line 5                                                                           $51,000.00
 57. Part 3: Total personal and household items, line 15                                                       $3,050.00
 58. Part 4: Total financial assets, line 36                                                                  $83,100.00
 59. Part 5: Total business-related property, line 45                                                         $45,000.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +            $7,907.49

 62. Total personal property. Add lines 56 through 61...                                                    $190,057.49               Copy personal property total           $190,057.49

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $294,957.49




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 10
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                                                                  Document    Page 12 of 40
 Fill in this information to identify your case:

 Debtor 1                JAMES WHITFIELD LIVINGSTON
                         First Name                         Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                     Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF TENNESSEE

 Case number           3:20-bk-03559
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      2002 Ford F250                                                                                                             Tenn. Code Ann. § 26-2-103
      Line from Schedule A/B: 3.1
                                                                      $4,500.00                                   $4,500.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit

      2004 Ford F250                                                                                                             Tenn. Code Ann. § 26-2-103
      Line from Schedule A/B: 3.2
                                                                      $3,500.00                                   $3,500.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit

      1995 Chevy 1500                                                                                                            Tenn. Code Ann. § 26-2-103
      Line from Schedule A/B: 3.3
                                                                      $1,500.00                                   $1,500.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit

      1972 Triumph TR6                                                                                                           Tenn. Code Ann. § 26-2-103
      Line from Schedule A/B: 3.4
                                                                      $2,500.00                                     $500.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit

      Clothing                                                                                                                   Tenn. Code Ann. § 26-2-104
      Line from Schedule A/B: 11.1
                                                                      $1,000.00                                   $1,000.00
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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 Debtor 1    JAMES WHITFIELD LIVINGSTON                                                                  Case number (if known)     3:20-bk-03559
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     THERE WAS APPROXIMATELY                                                                                                      Tenn. Code Ann. § 26-2-103
     $77,000 IN THE WE BULL AND
                                                                     $77,000.00                                      $0.00
     ROBINHOOD ACCOUNT AT THE                                                          100% of fair market value, up to
     TIME OF SETTLING OUT THE                                                              any applicable statutory limit
     ACCOUNTS AFTER CONVERSION
     TO CHAPTER 7.
     Line from Schedule A/B: 18.1

     Roth IRA: Etrade                                                                                                             Tenn. Code Ann. §
     Line from Schedule A/B: 21.1
                                                                      $5,100.00                                 $5,100.00
                                                                                                                                  26-2-111(1)(D)
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     POTENTIAL PERSONAL INJURY                                                                                                    Tenn. Code Ann. § 26-2-103
     CLAIM DUE TO A CAR ACCIDENT
                                                                      Unknown                                        $0.00
     (DOES NOT BELIEVE A CLAIM HAS                                                     100% of fair market value, up to
     ANY VALUE DUE TO THE OTHER                                                            any applicable statutory limit
     PARTY NOT HAVING INSURANCE
     THAT WOULD PAY, AND THE
     DEBTOR DOESN'T BELIEVE THAT
     THE OTHER PARTY HAS ANY
     MONEY).
     Line from Schedule A/B: 33.1

     $10,000 RETAINER PAID TO                                                                                                     Tenn. Code Ann. § 26-2-103
     ATTORNEY COLIN CALHOUN BY
                                                                            $0.00                                    $0.00
     LIVINGSCAPES PRIOR TO FILINGTO                                                    100% of fair market value, up to
     REPRESENT LIVINGSCAPES, LG                                                            any applicable statutory limit
     ORNAMENTALS, & JAMES
     LIVINGSTON AS A JOINT DEFENSE.
     IF RETAINER IS NOT USED, IT IS
     DEBTOR'S UNDERSTANDING THAT
     IT WILL BE RETURNED TO
     LIVINGSCAPES
     Line from Schedule A/B: 53.1


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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          Case 3:20-bk-03559                        Doc 124 Filed 04/26/21 Entered 04/26/21 11:58:50                                           Desc Main
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 Fill in this information to identify your case:

 Debtor 1                   JAMES WHITFIELD LIVINGSTON
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF TENNESSEE

 Case number           3:20-bk-03559
 (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                            value of collateral.   claim                  If any
         BB&T BANKRUPTCY
 2.1                                                                                                            $19,566.67               $23,000.00                   $0.00
         SECTION                                  Describe the property that secures the claim:
         Creditor's Name                          2016 Toyota Tundra

         100-50-01-51
                                                  As of the date you file, the claim is: Check all that
         PO BOX 1847                              apply.
         WILSON, NC 27894                          Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 3
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 Debtor 1 JAMES WHITFIELD LIVINGSTON                                                                       Case number (if known)   3:20-bk-03559
              First Name                  Middle Name                     Last Name


        FARM CREDIT MID
 2.2                                                                                                              $63,554.74         $104,900.00              $0.00
        AMERICA                                    Describe the property that secures the claim:
        Creditor's Name
                                                   3904 Hwy 31 E Bethpage, TN 37022
                                                   Sumner County
                                                   THE VALUE DOES NOT INCLUDE
                                                   CLOSING COSTS, AND REAL
                                                   ESTATE OR AUCTIONEER
        5015 SOUTH 118TH                           COMMISSION AND FEES.
                                                   As of the date you file, the claim is: Check all that
        STREET                                     apply.
        Omaha, NE 68137                             Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)    Mortgage
       community debt

 Date debt was incurred                                     Last 4 digits of account number


        FIRST HERITAGE
 2.3                                                                                                                $2,794.35              $0.00        $2,794.35
        CREDIT                                     Describe the property that secures the claim:
        Creditor's Name
                                                   LIEN ON TRAILER & INSURANCE
        122 SOUTH HARTMANN                         PROCEEDS FROM WRECKED
        DRIVE                                      TRAILER
                                                   As of the date you file, the claim is: Check all that
        SUITE A                                    apply.
        Lebanon, TN 37090                           Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
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 Debtor 1 JAMES WHITFIELD LIVINGSTON                                                                       Case number (if known)   3:20-bk-03559
              First Name                  Middle Name                     Last Name


        PNC EQUIPMENT
 2.4                                                                                                              $34,165.05           $45,000.00               $0.00
        FINANCE, LLC                               Describe the property that secures the claim:
        Creditor's Name
                                                   Bobcat T650 Compact Track Loader

        655 BUSINESS CENTER
                                                   As of the date you file, the claim is: Check all that
        DRIVE                                      apply.
        Horsham, PA 19044                           Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                $120,080.81
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                               $120,080.81

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                   JAMES WHITFIELD LIVINGSTON
                            First Name                      Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF TENNESSEE

 Case number           3:20-bk-03559
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          INTERNAL REVENUE                                       Last 4 digits of account number                          $6,468.18         $5,297.48             $1,170.70
              Priority Creditor's Name
              CENTRALIZED INSOLVENCY                                 When was the debt incurred?
              OPERATION
              PO BOX 7346
              Philadelphia, PA 19101
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 7
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 Debtor 1 JAMES WHITFIELD LIVINGSTON                                                                       Case number (if known)            3:20-bk-03559

 2.2        Lauren Lowe                                              Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            3811 Woodmont Ln                                         When was the debt incurred?
            Nashville, TN 37205
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            DEBTOR IS CURRENT ON THE COURT ORDERED
                                                                                         ONGOING CHILD SUPPORT PAYMENTS

 2.3        TN CHILD SUPPORT                                         Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            DEPT OF HUMAN SERVICES                                   When was the debt incurred?
            400 DEADERICK ST 14TH
            FLOOR
            NASHVILLE, TN 37243
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            NOTICE ONLY


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 7
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 Debtor 1 JAMES WHITFIELD LIVINGSTON                                                                     Case number (if known)        3:20-bk-03559

 4.1      AMERICAN EXPRESS                                           Last 4 digits of account number                                                         $13,616.35
          Nonpriority Creditor's Name
          1201 KINGSVIEW CIRCLE SE                                   When was the debt incurred?
          Smyrna, GA 30080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.2      AMERICAN EXPRESS                                           Last 4 digits of account number                                                         $16,019.18
          Nonpriority Creditor's Name
          1201 KINGSVIEW CIRCLE SE                                   When was the debt incurred?
          Smyrna, GA 30080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.3      BEST BUY                                                   Last 4 digits of account number                                                             $511.00
          Nonpriority Creditor's Name
          7601 PENNE AVENUE                                          When was the debt incurred?
          Minneapolis, MN 55423
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 3 of 7
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 Debtor 1 JAMES WHITFIELD LIVINGSTON                                                                     Case number (if known)        3:20-bk-03559

 4.4      Cassie Burton                                              Last 4 digits of account number                                                      $3,000,000.00
          Nonpriority Creditor's Name
          c/o Sherwood Litigation                                    When was the debt incurred?
          201 4th Ave N S 1130
          Nashville, TN 37219
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.5      CITIBANK, N.A                                              Last 4 digits of account number                                                             $511.24
          Nonpriority Creditor's Name
          5800 S. CORPORATE PL                                       When was the debt incurred?
          Sioux Falls, SD 57108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.6      JOHN DEERE FINANCIAL                                       Last 4 digits of account number                                                           $8,758.90
          Nonpriority Creditor's Name
          ATTN: BANKRUPTCY DEPT                                      When was the debt incurred?
          PO BOX 6600
          JOHNSTON, IA 50131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     2015 JOHN DEER SKID LOADER




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 4 of 7
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 4.7      Milessa Thomas                                             Last 4 digits of account number                                                        $500,000.00
          Nonpriority Creditor's Name
          c/o Christopher Boiano Esq.                                When was the debt incurred?
          115 Shivel Dr.
          Hendersonville, TN 37075
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

          PORTFOLIO RECOVERY
 4.8      ASSOCIATES                                                 Last 4 digits of account number                                                             $262.64
          Nonpriority Creditor's Name
          POB 12914                                                  When was the debt incurred?
          Norfolk, VA 23541
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

          STEARNS BANK NATIONAL
 4.9      ASSOCIATION                                                Last 4 digits of account number                                                           $7,139.06
          Nonpriority Creditor's Name
          C/O HANNAH C. GILBERT                                      When was the debt incurred?
          4191 2ND STREET SOUTH
          Saint Cloud, MN 56301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 5 of 7
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 Debtor 1 JAMES WHITFIELD LIVINGSTON                                                                      Case number (if known)        3:20-bk-03559

 4.1
 0         SYNCHRONY BANK                                            Last 4 digits of account number                                                                  $412.64
           Nonpriority Creditor's Name
           PO BOX 530960                                             When was the debt incurred?
           Atlanta, GA 30353
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify

 4.1
 1         SYNOVUS BANK                                              Last 4 digits of account number                                                              $11,017.07
           Nonpriority Creditor's Name
           1148 BROADWAY                                             When was the debt incurred?
           Columbus, GA 31901
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     GUARANTY

 Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 BECKET & LEE                                                  Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 PO BOX 3001                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Malvern, PA 19355
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                               Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                         0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                    6,468.18
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                        0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                    6,468.18

                                                                                                                               Total Claim

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 6 of 7
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 Debtor 1 JAMES WHITFIELD LIVINGSTON                                                                 Case number (if known)    3:20-bk-03559
                        6f.   Student loans                                                            6f.      $                    0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.      $                    0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                    0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $             3,558,248.08

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $             3,558,248.08




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 7 of 7
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 Fill in this information to identify your case:

 Debtor 1                JAMES WHITFIELD LIVINGSTON
                         First Name                         Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name          Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF TENNESSEE

 Case number           3:20-bk-03559
 (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease              State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      Diane Frey                                                              Assume Apartment Lease at $1695.00 monthly paid by
                                                                                      Debtor




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   JAMES WHITFIELD LIVINGSTON
                            First Name                            Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                            Middle Name       Last Name


 United States Bankruptcy Court for the:                 MIDDLE DISTRICT OF TENNESSEE

 Case number           3:20-bk-03559
 (if known)
                                                                                                                            Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:

    3.1                                                                                              Schedule D, line
                Name
                                                                                                     Schedule E/F, line
                                                                                                     Schedule G, line
                Number             Street
                City                                      State                      ZIP Code




    3.2                                                                                              Schedule D, line
                Name
                                                                                                     Schedule E/F, line
                                                                                                     Schedule G, line
                Number             Street
                City                                      State                      ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      JAMES WHITFIELD LIVINGSTON

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       MIDDLE DISTRICT OF TENNESSEE

Case number               3:20-bk-03559                                                                 Check if this is:
(If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                               Not employed
       employers.
                                             Occupation            OWNER
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       LIVINGSCAPES, LLC

       Occupation may include student        Employer's address
                                                                   3941 STEWARTS LANE
       or homemaker, if it applies.
                                                                   Nashville, TN 37218

                                             How long employed there?         APPROX. 1 WEEK

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         6,666.66        $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      6,666.66               $      N/A




Official Form
          Case106I3:20-bk-03559                               Schedule I: Your
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                                                     Document     Page 27 of 40
Debtor 1   JAMES WHITFIELD LIVINGSTON                                                            Case number (if known)    3:20-bk-03559


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      6,666.66       $             N/A

5.   List all payroll deductions:
     5a.   Tax, Medicare, and Social Security deductions                                  5a.        $        993.72       $               N/A
     5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00       $               N/A
     5c.   Voluntary contributions for retirement plans                                   5c.        $          0.00       $               N/A
     5d.   Required repayments of retirement fund loans                                   5d.        $          0.00       $               N/A
     5e.   Insurance                                                                      5e.        $          0.00       $               N/A
     5f.   Domestic support obligations                                                   5f.        $          0.00       $               N/A
     5g.   Union dues                                                                     5g.        $          0.00       $               N/A
     5h.   Other deductions. Specify:                                                     5h.+       $          0.00 +     $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            993.72       $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          5,672.94       $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
     8e. Social Security                                                                  8e.        $              0.00   $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $               N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              5,672.94 + $            N/A = $         5,672.94
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         5,672.94
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form
          Case106I3:20-bk-03559                           Schedule I: Your
                                          Doc 124 Filed 04/26/21           Income04/26/21 11:58:50
                                                                      Entered                                                     Desc Mainpage 2
                                                 Document     Page 28 of 40
Fill in this information to identify your case:

Debtor 1                JAMES WHITFIELD LIVINGSTON                                                         Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF TENNESSEE                                               MM / DD / YYYY

Case number           3:20-bk-03559
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                                                                                 Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,695.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     JAMES WHITFIELD LIVINGSTON                                                                Case number (if known)      3:20-bk-03559

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                               227.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                                57.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                                 0.00
      6d. Other. Specify: Netflix & Amazon                                                                   6d.   $                                23.00
             Internet                                                                                              $                                85.00
7.    Food and housekeeping supplies                                                           7.                  $                               427.59
8.    Childcare and children’s education costs                                                 8.                  $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                                74.30
10.   Personal care products and services                                                    10.                   $                                23.79
11.   Medical and dental expenses                                                            11.                   $                                62.67
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 172.25
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  45.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                     0.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ESTIMATED TAX SUPPLEMENT                                                      16. $                                                 107.69
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify: BOBCAT T650 COMPACT TRACK LOADER                                17c. $                                                  915.56
      17d. Other. Specify: 2016 TOYOTA TUNDRA                                              17d. $                                                  499.99
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                 750.00
19.   Other payments you make to support others who do not live with you.                         $                                                  0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                  418.96
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:                                                                        21. +$                                                  0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     5,584.80
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     5,584.80
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,672.94
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,584.80

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                  88.14

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here: HEALTH INSURANCE, CELL PHONE, HOT SPOT, AND VEHICLE INSURANCE IS PAID FOR BY
                          THE DEBTOR'S EMPLOYER, LIVINGSCAPES, LLC. DEBTOR DOES NOT HAVE RENTER'S INSURANCE.

                          THE INTERNET EXPENSE IS $70 PLUS FEES AND EXPENSES ESTIMATED AT $15 PER MONTH.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    JAMES WHITFIELD LIVINGSTON
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF TENNESSEE

 Case number              3:20-bk-03559
 (if known)
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                        12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

         Yes. Name of person                                                                                   Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ JAMES WHITFIELD LIVINGSTON                                            X
              JAMES WHITFIELD LIVINGSTON                                                Signature of Debtor 2
              Signature of Debtor 1

              Date       April 26, 2021                                                 Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                 JAMES WHITFIELD LIVINGSTON
                          First Name                        Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name               Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF TENNESSEE

 Case number           3:20-bk-03559
 (if known)
                                                                                                                         Check if this is an
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?


    Creditor's         BB&T BANKRUPTCY SECTION                             Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
    Description of
                                                                           Retain the property and enter into a         Yes
                         2016 Toyota Tundra                                 Reaffirmation Agreement.
    property                                                               Retain the property and [explain]:
    securing debt:



    Creditor's         FARM CREDIT MID AMERICA                             Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
    Description of
                                                                           Retain the property and enter into a         Yes
                   3904 Hwy 31 E Bethpage, TN                               Reaffirmation Agreement.
    property       37022 Sumner County                                     Retain the property and [explain]:
    securing debt: THE VALUE DOES NOT
                   INCLUDE CLOSING COSTS,
                   AND REAL ESTATE OR
                   AUCTIONEER COMMISSION
                   AND FEES.


    Creditor's         PNC EQUIPMENT FINANCE, LLC                          Surrender the property.                      No


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 1

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 Debtor 1      JAMES WHITFIELD LIVINGSTON                                                            Case number (if known)    3:20-bk-03559

    name:                                                                 Retain the property and redeem it.                       Yes

    Description of
                                                                          Retain the property and enter into a
                        Bobcat T650 Compact Track                            Reaffirmation Agreement.
    property            Loader                                            Retain the property and [explain]:
    securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:               Diane Frey                                                                                       No

                                                                                                                                 Yes

 Description of leased        Assume Apartment Lease at $1695.00 monthly paid by Debtor
 Property:




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

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 Debtor 1      JAMES WHITFIELD LIVINGSTON                                                            Case number (if known)   3:20-bk-03559




 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ JAMES WHITFIELD LIVINGSTON                                               X
       JAMES WHITFIELD LIVINGSTON                                                       Signature of Debtor 2
       Signature of Debtor 1

       Date        April 26, 2021                                                   Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                    page 3

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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $78   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $338      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $571    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $78       administrative fee                                          factors.
                   $278       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $78       administrative fee                                                 fiduciary capacity,
                   $313       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/forms/bankruptcy-forms                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
 Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
        If you knowingly and fraudulently conceal assets                                  Internet.
        or make a false oath or statement under penalty
        of perjury—either orally or in writing—in                                         In addition, after filing a bankruptcy case, you generally
        connection with a bankruptcy case, you may be                                     must complete a financial management instructional
        fined, imprisoned, or both.                                                       course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
        All information you supply in connection with a                                   course.
        bankruptcy case is subject to examination by the
        Attorney General acting through the Office of the                                 You can obtain the list of agencies approved to provide
        U.S. Trustee, the Office of the U.S. Attorney, and                                both the briefing and the instructional course from:
        other offices and employees of the U.S.                                           http://www.uscourts.gov/services-forms/bankruptcy/cre
        Department of Justice.                                                            dit-counseling-and-debtor-education-courses.

 Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
 The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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                                                               United States Bankruptcy Court
                                                                     Middle District of Tennessee
 In re      JAMES WHITFIELD LIVINGSTON                                                                  Case No.   3:20-bk-03559
                                                                                  Debtor(s)             Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: April 26, 2021                                                  /s/ JAMES WHITFIELD LIVINGSTON
                                                                       JAMES WHITFIELD LIVINGSTON
                                                                       Signature of Debtor




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JAMES WHITFIELD LIVINGSTON         INTERNAL REVENUE
PO BOX 91047                       CENTRALIZED INSOLVENCY OPERATION
NASHVILLE TN 37209                 PO BOX 7346
                                   PHILADELPHIA PA 19101
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STEVEN L. LEFKOVITZ                JOHN DEERE FINANCIAL
LEFKOVITZ & LEFKOVITZ              ATTN: BANKRUPTCY DEPT
618 CHURCH ST., #410               PO BOX 6600
NASHVILLE, TN 37219                JOHNSTON IA 50131


AMERICAN EXPRESS                   LAUREN LOWE
1201 KINGSVIEW CIRCLE SE           3811 WOODMONT LN
SMYRNA GA 30080                    NASHVILLE TN 37205




BB&T BANKRUPTCY SECTION            MILESSA THOMAS
100-50-01-51                       C/O CHRISTOPHER BOIANO ESQ.
PO BOX 1847                        115 SHIVEL DR.
WILSON NC 27894                    HENDERSONVILLE TN 37075


BECKET & LEE                       PNC EQUIPMENT FINANCE, LLC
PO BOX 3001                        655 BUSINESS CENTER DRIVE
MALVERN PA 19355                   HORSHAM PA 19044




BEST BUY                           PORTFOLIO RECOVERY ASSOCIATES
7601 PENNE AVENUE                  POB 12914
MINNEAPOLIS MN 55423               NORFOLK VA 23541




CASSIE BURTON                      STEARNS BANK NATIONAL ASSOCIATION
C/O SHERWOOD LITIGATION            C/O HANNAH C. GILBERT
201 4TH AVE N S 1130               4191 2ND STREET SOUTH
NASHVILLE TN 37219                 SAINT CLOUD MN 56301


CITIBANK, N.A                      SYNCHRONY BANK
5800 S. CORPORATE PL               PO BOX 530960
SIOUX FALLS SD 57108               ATLANTA GA 30353




FARM CREDIT MID AMERICA            SYNOVUS BANK
5015 SOUTH 118TH STREET            1148 BROADWAY
OMAHA NE 68137                     COLUMBUS GA 31901




FIRST HERITAGE CREDIT              TN CHILD SUPPORT
122 SOUTH HARTMANN DRIVE           DEPT OF HUMAN SERVICES
SUITE A                            400 DEADERICK ST 14TH FLOOR
LEBANON TN 37090                   NASHVILLE TN 37243


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